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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA              )                 Case No. 2:09-CR-0121 FCD
                                      )
      Plaintiff,                      )
                                      )
                                      )                   ORDER
vs.                                   )
                                      )
                                      )
CHRISTOPHER JARED WARREN,             )
                                      )
      Defendant.                      )
_____________________________________ )
                                      )



       GOOD CAUSE APPEARING, it is hereby ordered that the April 20, 2009 status

conference be continued to May 11, 2009, at 10 a.m. I find that the ends of justice warrant an

exclusion of time and that the defendant's need for his counsel to competently prepare by

reviewing the voluminous discovery made available by the government exceeds the public

interest in a trial within 70 days. THEREFORE IT IS FURTHER ORDERED that time be

excluded under 18 U.S.C. § 3161(h)(8)(B)(iv)(Local Code T-4) from the date of this order

through and including May 11, 2009.


IT IS SO ORDERED.
Dated: April 16, 2009
                                         _______________________________________
                                         FRANK C. DAMRELL, JR.
                                         UNITED STATES DISTRICT JUDGE




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